                           UNITED STATES DISTRICT COURT
                            DISTRICT OF NEW HAMPSHIRE

ESJ, ppa LUCKY GIRL (Lisa) BEH and ELLIOTT )
SACKOR, SR., and LUCKY GIRL (Lisa) BEH and )
ELLIOTT SACKOR, SR., Individually,         )
                                           )
       Plaintiffs,                         )
                                           )
       v.                                  ) No. 18-cv-956-SM
                                           )
UNITED STATES OF AMERICA,                  )
MARY CULLEN, D.O., and                     )
ELLIOT HOSPITAL,                           )
                                           )
       Defendants.                         )
__________________________________________)

                                       CIVIL FORM 3

EVENT                                       CURRENT             PROPOSED
                                            DEADLINE            DEADLINE
Defendants’ Disclosure of Experts           August 5, 2021      January 6, 2022
Final Supplementation of Expert             November 5, 2021    April 7, 2022
Disclosures
Close of Discovery                          November 22, 2021   April 22, 2022
Summary Judgment Motions                    October 22, 2021    March 22, 2022
Challenges to Expert Testimony              December 9, 2021    May 11, 2022
Joint Statement Regarding Suitability of    October 7, 2021     March 7, 2022
Mediation
Trial                                       January 19, 2022    June 21, 2022
